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 8                                    UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                        No. 2:19-CR-0123 KJM
12                       Plaintiff,
13           v.
14    MARIO ALBERTO LOPEZ PENA, and
      FRANCISCO MADRIGAL MAGANA,
15
                         Defendants.
16
      ___________________________________
17                                                     No. 2:20-CR-026 WBS
      UNITED STATES OF AMERICA,
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                         Plaintiff,
19                                                     RELATED CASE ORDER
             v.
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      CUSTODIO IBARRA NUNEZ,
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                         Defendant.
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                    Examination of the above-captioned actions reveals that they are related within the
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     meaning of Local Rule 123(a). Here, “both actions involve similar questions of fact and the same
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     question of law and their assignment to the same Judge or Magistrate Judge is likely to effect a
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     substantial savings of judicial effort.” Local Rule 123(a)(3). Accordingly, the assignment of
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                                                       1
        Case 2:19-cr-00123-KJM Document 50 Filed 03/13/20 Page 2 of 2


 1   these matters to the same judge is likely to effect a substantial savings of judicial effort and is
 2   likely to be convenient for the parties.
 3                  The parties should be aware that relating cases under Rule 123 causes the actions
 4   to be assigned to the same judge – it does not consolidate the actions. Under Rule 123, related
 5   cases are generally assigned to the judge and magistrate judge to whom the first filed action was
 6   assigned.
 7                  As a result, it is hereby ORDERED that 2:20-cr-00026 WBS is reassigned from
 8   Senior Judge William B. Shubb to the undersigned. Henceforth, the caption on documents filed in
 9   the reassigned case shall be shown as: 2:20-cr-00026 KJM.
10                  It is further ORDERED that the Clerk of the Court make appropriate adjustment in
11   the assignment of civil cases to compensate for this reassignment.
12                  IT IS SO ORDERED.
13   DATED: March 13, 2020.
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